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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA


   SONY MUSIC ENTERTAINMENT, et al.,

                          Plaintiffs,

          v.                                               Case No. 1:18-cv-00950-LO-JFA

   COX COMMUNICATIONS, INC., et al.,

                        Defendants.

                           REDACTED PUBLICLY FILED VERSION

   SUPPLEMENTAL DECLARATION OF DIANA HUGHES LEIDEN IN SUPPORT OF
      COX’S MOTION TO TAKE ADDITIONAL THIRD-PARTY DEPOSITIONS

  I, Diana Hughes Leiden, hereby declare:

         1.      I am a partner with the firm of Winston & Strawn LLP, attorneys of record for

  Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”). I submit this

  declaration in further support of Cox’s Motion for Leave to Take Additional Third-Party

  Depositions (the “Motion for Leave”). I have personal knowledge of all facts stated in this

  declaration, and if called upon as a witness, I could and would competently testify thereto.

         2.      I have reviewed the Rebuttal Expert Reports of Drs. Kevin Almeroth and Nick

  Feamster submitted on behalf of Cox on May 15, 2019.

         3.      Dr. Feamster relies on documents and testimony relating to MarkMonitor,

  including the deposition transcript of Stroz Friedberg, MarkMonitor source code, MarkMonitor’s

  technical documentation, summary of works found on torrents, the Stroz Friedberg and Harbor

  Labs assessments of MarkMonitor, and MarkMonitor’s responses thereto. Dr. Feamster also relies

  on documents and testimony relating to Audible Magic, including Audible Magic source code,

  technical documentation, transaction logs, reference database, and the deposition transcript of



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  Vance Ikezoya, Audible Magic’s 30(b)(6) witness.

         4.      Dr. Almeroth relies on the deposition transcript of Stroz Friedberg and a number of

  reports that they produced relating to the Copyright Alert System.

         5.      I have reviewed the Copyright Alert System (“CAS”) Memorandum of

  Understanding (“MOU”) that outlines the CAS graduated response, which does not result in

  termination. I have read the Attachments A and B that list the participating Content Owners and

  ISPs, which include the RIAA, UMG Recordings, Inc., and Sony Music Entertainment. Attached

  hereto as Exhibit 1 is a true and correct copy of public version of the MOU.

         6.      I have reviewed the Copyright Alert System FAQs webpage. Attached hereto as

  Exhibit 2 is a true and correct screenshot of the CAS FAQs webpage from June 25, 2014 available

  at https://web.archive.org/web/20140625053138/http:/www.copyrightinformation.org/resources-

  faq/copyright-alert-system-faqs.

         7.      In his Rebuttal Expert Report, Dr. Feamster opines REDACTED




         8.      I have reviewed the Excel file, Plaintiffs_00286281. This document consists of

  four datasets, eleven to fourteen columns of data per data set, tens of thousands of rows of data

  overall. In each data set, one of the several columns in each is Audible_magic_info_id. This

  column appears no sooner than the eighth column and as far as the eleventh column depending on

  the dataset.    The Excel file provides no context or key regarding the meaning of




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  Audible_magic_info_id.

          9.       I have reviewed correspondence among the RIAA, MarkMonitor, and Audible

  Magic and Ms. Sheckler was one of the primary individuals from the RIAA corresponding with

  both entities.

          10.      Cox served deposition subpoenas on Jill Lesser and Victoria Sheckler. Plaintiffs’

  counsel is representing both Ms. Lesser and Ms. Sheckler for purposes of their depositions. The

  parties are in the process of scheduling the date of the depositions in Washington, D.C. where both

  Ms. Lesser and Ms. Sheckler are located. Cox does not expect either deposition to last a full day.

          I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.


          Executed this 16th day of May, 2019 in Los Angeles, California.


                                                /s/ Diana Hughes Leiden
                                                  Diana Hughes Leiden
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